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                     Attachment C
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Robin Thurston

From:                 Moore, Tamra (CIV) <Tamra.Moore@usdoj.gov>
Sent:                 Monday, December 3, 2018 4:11 PM
To:                   Robin Thurston
Cc:                   Jeff Dubner; Westmoreland, Rachael (CIV)
Subject:              RE: NWLC, et al. v. OMB, et al. -- have a second to talk this morning?


Hi Robin,

I apologize (again) for the delay. I’ve heard back from OMB about your request to know how much time it will take OMB
to get Component 2 “live” should plaintiffs prevail in this case. OMB said “1 day.” We are waiting to hear back from
EEOC – apparently the person who would have knowledge of this is out of the office today. But they will get back to me
tomorrow.
Does any of this help?

Tamra

Tamra T. Moore
United States Department of Justice
Civil Division – Federal Programs Branch
1100 L Street N.W.
Washington, D.C. 20005
Direct Dial: (202) 305‐8628
Fax: (202) 616‐8470

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protection. If you are not the intended recipient or have received this message in error, please notify the sender and promptly
delete the message.

From: Robin Thurston <rthurston@democracyforward.org>
Sent: Monday, December 03, 2018 12:50 PM
To: Moore, Tamra (CIV) <tammoore@CIV.USDOJ.GOV>
Cc: Jeff Dubner <jdubner@democracyforward.org>; Westmoreland, Rachael (CIV) <rwestmor@CIV.USDOJ.GOV>
Subject: Re: NWLC, et al. v. OMB, et al. ‐‐ have a second to talk this morning?

Hi Tamra,

Yes, that's the right framing of the question. Thanks for passing it along.

Robin

On Mon, Dec 3, 2018 at 12:32 PM Moore, Tamra (CIV) <Tamra.Moore@usdoj.gov> wrote:

 Ah, ok. Let me pass that question along to both OMB and EEOC and get back to you with their respective
 responses. And to make sure that I fully understand your question ‐ ‐plaintiffs want to know how long it would take to
 get component 2 “live” for employer filing purposes? Is that the correct framing of the question? If not, please feel
 free to reframe it in the wording that you think makes most sense. I’d hate to pass along the incorrect question.


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From: Robin Thurston <rthurston@democracyforward.org>
Sent: Monday, December 03, 2018 12:17 PM
To: Moore, Tamra (CIV) <tammoore@CIV.USDOJ.GOV>; Jeff Dubner <jdubner@democracyforward.org>
Cc: Westmoreland, Rachael (CIV) <rwestmor@CIV.USDOJ.GOV>
Subject: Re: NWLC, et al. v. OMB, et al. ‐‐ have a second to talk this morning?




Hi Tamra and Rachael,



Thank you for the email and the information. We're talking with our clients, and will respond to your
extension request later today. In the meantime, it would also be helpful to know whether the agencies have an
estimate of how much time, if any, they would like to implement a court ruling in plaintiffs' favor. If we could
signal that date to the Judge, that might alleviate some of our concern about time continuing to pass during a
more prolonged briefing schedule.



Thanks very much,

Robin



On Mon, Dec 3, 2018 at 10:37 AM Moore, Tamra (CIV) <Tamra.Moore@usdoj.gov> wrote:
                                                                2
